
Judge Roane
pronounced the opinion of the court. “ The court, considering that the appellee appeared and contested the allowance of the executors’ account, as stated in the proceedings; that he averred himself to be interested, as a devisee, in the estate in question, and appealed from the judgment of the court of Fairfax county sanctioning the account; are of opinion that, under the decision of this court in the case of Wingfield v. Crenshaw, 3 H. &amp; M. 245. the case was properly carried by him, by way of appeal, to the district court; and that that court rightly reversed *244the judgment appealed from; inasmuch as ho facts 6t circumstances are stated bn the part of the appellants' justifying the allowance óf a commission of 7 1-2 pet . centum to the executors. The only doubt the court had upon the Subject was, whether, inasmuch as the order of allowance by the court of Fairfax county was only ex parte,' ¿h appeal would lie from the judgment; but considering that such ex parte settlement might operate injuriously to the appellee and others, in the event of the loss of testimony and documents competent to impeach that allowance, when the same might thereafter be more deliberately question- ' ed; the court is inclined to sustain the appeal, under that provision of the act which gives a right of appeal to all Who may be injured or aggrieved, by the sentence or judgment of a county court, in any suit br contest whatsoever,-,7

Judgment affirmed*

